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APPENDIX E
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October 13, 2024


Stephanie Rempe, University of Nevada, Reno Athletics Director
Merlene Aitken-Smith, University of Nevada, Reno Deputy Athletics Director


Re: University of Nevada, Reno’s Violation of Our Rights as Women Athletes
Dear University of Nevada, Reno Athletic Department Administrators:

When recruiting us to play women’s volleyball the University promised that our rights as women
would be protected and that our unique contributions to the University community and women’s
sport would be celebrated. Sadly, the University is not living up to the promises made to us.

The promises made to us were abandoned on October 3, 2024, when, without our consent, and
while our team was preparing to play an important match against our cross-state rival, the
University of Nevada, Las Vegas (UNLV), Nevada-Reno publicly announced that our women’s
volleyball team would play its scheduled October 26, 2024, match against San Jose State
University (SJSU), a team that starts a biological male athlete. We were not consulted regarding
this announcement, nor did we agree to it.

The surprise announcement appears intended to pressure us into competing against the SJSU
team even though many of us had made clear to our coach that we were uncomfortable with the
unfair situation and physical risk we would face by playing against a player who is male. This
pressure was reinforced during our team meeting on October 7, which included the Athletic
Director, Stephanie Rempe and the Deputy Athletic Director, Merlene Aitken-Smith. We were
told that we needed to be educated, that we did not understand the science, that the male
player was at a disadvantage against female athletes, and that players who forfeited were liable
and could be sued for denying San Jose State a chance to play. We disagree with our Athletic
Director and are frightened by the pressure and threats placed upon us. Nevada-Reno is forcing
upon us safety risks unequal to men, undermining our right to fair and equal competition, and
demanding that through participation we endorse equal rights being stripped from women.

Four other universities - Southern Utah University, Boise State University, the University of
Wyoming, and Utah State University, three of which are in the Mountain West Conference -
have stood up for the rights of their female athletes by withdrawing from scheduled competitions
against SJSU. Regrettably, Nevada-Reno has chosen not to stand up for us. Since our
university will not stand up for us, we must stand up for ourselves.

This letter confirms that thirteen members of the University of Nevada, Reno women’s volleyball
team are steadfast and resolve to stand up for our rights and refuse to comply with our
university’s unlawful edict. We will not play against San Jose State University.

We refuse to be treated as property, and will not be used against our consciences to convey a
message which leads to women at all levels of sport losing equal rights and opportunities. We
stand together with the other courageous women in our conference and with the female athletes
who have sued the NCAA, to defend our Title IX rights to equal, fair, and safe competition.

We urge the University of Nevada, Reno, the Mountain West Conference and the NCAA to
reverse course and start protecting the rights of female athletes.
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Finally, we are actively investigating our legal options and reserve all rights and claims against
the organizations which are discriminating against us. We demand that the Title IX Coordinator
and Center for Civil Rights & Equal Access immediately commence an investigation into
deprivation of our rights under Title IX and the First and Fourteenth Amendments by the NCAA,
Mountain West Conference and University of Nevada, Reno.



The University of Nevada, Reno Women’s Volleyball Team

Sia Liilii                          Nicanora Clarke                      Carissa Chainey

Malia Pilimai                       Masyn Navarro                        Ambri Hanohano

Kinsley Singleton                   McKenna Dressel                      Gabby McLaughlin

Bella Snyder                        Sierra Bernard

Summer Suppik                       Sara Johnson



cc:      Title IX Coordinator & Center for Civil Rights & Equal Access

         Brian Sandoval, President, University of Nevada, Reno

         Shannon Hunt, University of Nevada, Reno Women’s Volleyball Head Coach
